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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                                        CHAPTER 13 CASE NO.:

JACQUELINE BATTLE-CALDWELL                                               22-10392-JDW

                              OBJECTION TO CONFIRMATION

        COMES NOW Locke D. Barkley, Chapter 13 Trustee, by and through counsel,
and files this Objection to Confirmation (the “Objection”) and in support states as
follows:

        1.      The Debtor 1 initiated this proceeding with the filing of a voluntary
petition for relief on February 28, 2022. The amended Chapter 13 plan (Dkt. #9) (the
“Plan”) was filed on April 28, 2022.

        2.      The Debtor is above median income and has proposed a plan term of 60
months. In Section 5.1 of the Plan the Debtor proposes a total distribution of $76,980.00
to nonpriority unsecured creditors and states that the liquidation value is $7,395.00.

        3.      The Debtor failed to disclose all financial affairs as required by
§521(a)(1)(B)(iii). Specifically, the Statement of Financial Affairs (Dkt. #1, Pg. 31) does
not state the amount of income received by the Debtor year to date 2022, or during the
2021 and 2020 calendar year. Other than the payment of prepetition attorney fees and
expenses related to this bankruptcy filing, the Debtor discloses no other prepetition
financial affairs.

        4.      The Trustee requests that confirmation of the Plan be denied. Should the
Debtor be delinquent in payments at the time of the hearing on the Objection, the
Trustee also requests that the bankruptcy case dismissed.

        WHEREFORE, PREMISES CONSIDERED, Locke D. Barkley, Chapter 13 Trustee,
prays that upon notice and hearing that this Court enter its order sustaining the

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 The above-referenced Debtor or Debtors shall be referred to herein in the singular as Debtor unless
specified otherwise (e.g. Debtor1 or Debtor2).

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Trustee’s Objection and for such other relief to which the Trustee and this bankruptcy
estate may be entitled.

       Dated: May 16, 2022

                                           Respectfully submitted,
                                           LOCKE D. BARKLEY, TRUSTEE

                                           BY: /s/ W. Jeffrey Collier
                                           W. JEFFREY COLLIER, ESQ.
                                           Attorney for Trustee
                                           6360 I-55 North, Suite 140
                                           Jackson, Mississippi 39211
                                           (601) 355-6661
                                           ssmith@barkley13.com
                                           MSB No. 10645


                               CERTIFICATE OF SERVICE

        I, the undersigned attorney for the Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and
foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.

       Dated: May 16, 2022

                                           /s/ W. Jeffrey Collier
                                           W. JEFFREY COLLIER




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